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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO
                                     Honorable Marcia S. Krieger

   Case No. 05-cv-01998-MSK-OES

   JERRY D. ROBBINS, individually, and
   JERRY D. ROBBINS, for Himself and All Others Similarly
   Situated Shareholders of Universal Solutions, Inc.,

                 Plaintiffs,

   v.

   UNIVERSAL SOLUTIONS, INC., a Colorado corporation, and
   MICHAEL R. MOORE, individually,

               Defendants.
   __________________________________________________________________________

                                      ORDER
   __________________________________________________________________________

          After consideration of the Request for Participation by Telephone in Hearing on Law and

   Motion Calendar (#9)(the “Request”) filed by FOX ROTHSCHILD LLP, bankruptcy attorneys

   for MICHAEL R. MOORE, a named defendant in the above captioned matter, the Request is

   hereby granted. Counsel may appear at the hearing to address the Suggestion of Bankruptcy (#4)

   filed on November 1, 2005, by Defendant Michael Moore scheduled for November 15, 2005, at

   1:30 p.m. by telephone.

          DATED this 15th day of November, 2005.
                                                             BY THE COURT:




                                                             Marcia S. Krieger
                                                             United States District Judge
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